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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


  JUDGE: Richard Schell

  COURT REPORTER:
  Jerry Kelley

  COURTROOM DEPUTY:
  Bonnie Sanford

  Interpreter: Alma Adriano

         This day came the parties and by their attorneys the following proceedings were held
  before Judge Richard Schell in Plano, Texas on 10/1/12:

  Final Pretrial Conference

  9:09 am       The court called 4:09cr90, Gary Lynn McDuff. Shamoil Shipchandler for the Govt.
                Kyle Kemp for the Defendant. Mr. McDuff states that he is unrepresented. Case set
                for Jury Selection and Trial on Monday, November 26, 2012 at 9:00 a.m. (5 days).
                Hearing to admonish defendant set for Friday, October 5, 2012 at 10:00 a..m.

  9:25 am       The court called 4:11cr248. Ernest Gonzalez for the Govt.
                (4) Garland Cardwell for Joe Diaz. No objection for trial or continuance.
                (5) Jeffery King for Richardo Castillo. Working on a plea. No objection to trial.
                (6) Jeffrey Ansley for Michael Padron - Working on a plea. No objection to trial.
                (8) Lee Tatum for Rodney Mayo- Working on a plea. No objection to trial.
                (9) Bobbie Cate for Oscar Montoya-Castillo- Working on a plea. No objection to
                   trial.
                (10) Kevin Ross for Nancy Granados- Change of plea set 10/11/12 at 10:30 a.m.
                (11) Bert Garcia for Steven Taylor- Trial
                (12) John Hunter Smith for Brittany Vollweiler - Working on a plea. No objection
                    to trial.
                (13) Barrett Brown for Lyle Rowen - Trial
                (15) Brian O’Shea for Dylan Dove - Requests trial.
                (18) Gregory Williams for Christopher Spring - Nobody appears. Warrant to issue.
                     Defense attorney calls in. Case set for trial 1/8/13 at 9:00 a.m. No warrant.
                (19) Scott Palmer for Nicholas Tagert - Trial
                (21) Micah Belden for Hugo Hernandez - Trial
                (23) Derk Wadas for Elizabeth Tarlton - Trial
                (24) Gregg Gibbs for Benjamin Tredway - Trial

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              (26) Ronald Uselton for Kevin Teer - Trial
              (27) Michael Lehmann for Michael Perez - Working on a plea. No objection to trial.
              (29) Keith Willeford for Joshua Honea -Trial
              (30) Reginald Smith for Courtney Sides - Trial
              Case set for Jury Selection and Trial on 1/8/13 at 9:00 a.m. (4-5 days)

  9:52 am     The court called 4:12cr16. Ernest Gonzalez for the Govt. Alma Adriano Interp.
              (2) Lee Tatum for Trey Tibbs.- Working on plea. Set for trial 12/4/12.
              (4) Bobbie cate for Joey Trevathan- plea to be taken today.
              (5) Mick Mickelsen for Melinda Marshall- Trial 12/4/12.
              (6) Brian O’Shea for Brent Askew
              (7) Gerald Cobb for Jason Hooper
              (9) Garland Cardwell for Brian McMenamy - Working on plea. Set for trial 12/4/12.
              (10) John Hopping for Shannon Askew - Change of Plea 10/11/12 at 10:30 a.m.
              (11) Scott Palmer for Melvin Bowen - Trial
              (12) J Craig Jett for Melissa Stewart - Trial
              (13) Randall Nunn for Daniel Jenson - Trial
              (15) Frank Perez for Manuel Camacho - Plea 10/18/12 at 10:30 a.m.
              (16) Michah Belden for Malcom Conyers - Working on plea. Set for trial 12/4/12.
              (17) Robert Richardson for Andrea Reeves- Working on plea. Set for trial 12/4/12.
              (18) Alfred Gilbertson for Lorene Valdez- Working on plea. Set for trial 12/4/12.
              (20) Joey Fritts for Pricilla Marceleno- Working on plea. Set for trial 12/4/12.
              (23) Steven Hayden by phone conference for Abraham Escuadra-Chavez.- Working
                   on plea. Set for trial 12/4/12.
              (25) Chris Mulder for Douglas Mulder for Paul Camacho- Working on plea. Set for
                   trial 12/4/12.
              (28) Keith Willeford for Becker Demming- Working on plea. Set for trial 12/4/12.
              (29) Christopher Mulder for Cindy Fox- Working on plea. Set for trial 12/4/12.
              (31) Keith Willeford appearing for Heath Hyde for Ramiro Cazares. Working on plea.
                   Set for trial 12/4/12.
              (34) Joel Petrazio for Juan Vega- Trial.

  10:14 am    Court hold change of plea on 4:12cr16(4) Joey Trevathan. Tracey Batson for the
              Govt. Bobbie Cate for the Defendant.
              The Court called the case. Defense counsel advised that defendant will plead guilty
              to Count 1 of the Second Superseding Indictment. Defendant was sworn in. The
              court reviewed the charges outlined in the Indictment with the defendant. Defendant
              acknowledged receipt of the indictment and stated he understood the charges
              contained therein. Defendant acknowledged that he is giving up right to trial. The
              court then reviewed the plea agreement with defendant. Defendant stated that he had
              reviewed the plea agreement with his counsel. The court informed defendant of his
              rights, including right to trial, to present witnesses. The court then reviewed the
              range of punishment information with the defendant. The defendant stated he
              understood the range of punishment information. Statement of Facts reviewed with

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              the Defendant. Defendant acknowledged that statement of facts is true and correct.
              Defendant entered plea of guilty to Count 1 of the Second Superseding Indictment.
               The court finds that Defendant is competent; aware of the nature of the charges;
              plea is made voluntarily. The Court accepts Defendant’s guilty plea and finds
              defendant guilty as charged. Sentencing deferred for presentence investigation.
              Defendant was remanded to the U.S. Marshal.

  10:42 am    The court calls 4:12cr26(2). Tracey Batson for the Govt. Rafael De La Garza for
              Juan Enrique Santos-Elizondo. Alma Adriano Interp. Case set for Jury Selection and
              Trial #2 on 11/1/12 at 9:00 a.m. (3 days).

  10:47 am    The court calls 4:12cr57(2). Tracey Batson for the Govt. Robert Arrambide for
              Osvaldo Merlan-Velasquez. Alma Adriano Interp. Case set for Jury Selection and
              Trial #3 on 11/1/12 at 9:00 a.m. (3 days).

  10:50 am    The court calls 4:12cr85. Tracey Batson for the Govt. Robert Arrambide for
              Markeith Bernard Wallace. Case set for change of plea 10/18/12 at 10:30 a.m.

  10:53 am    The court calls 4:12cr109. Tracey Batson for the Govt. Robert Arrambide for
              Michael Anhony Tijerina. Case continued for final pretrial conference to 11/5/12 at
              9:00 a.m.

  10:55 am    The court calls 4:12cr113. Tracey Batson for the Govt. Robert Arrambide for Joe
              Luis Cahue. Alma Adriano Interp. Case continued for final pretrial conference to
              11/5/12 at 9:00 a.m.

  10:58 am    The court calls 4:12cr132. Tracey Batson for the Govt. Robert Arrambide for Phillip
              Matthew Romine. Case set for change of plea 10/18/12 at 10:30 a.m.

  11:00 am    The court calls 4:12cr158. Tracey Batson for the Govt. Robert Arrambide for
              Clarence Dunnington. Case set for Jury Selection and Trial #2 on 2/25/13 at 9:00
              a.m. (4 days).

  11:04 am    The court calls 4:12cr167. Tracey Batson for the Govt. Robert Arrambide for Karl
              K. Yarbrough. Case set for change of plea on 10/18/12 at 10:30 a.m.

  11:06 am    Court recessed.




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